                            UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION


RONNIE ISSETTE,                                       )
                                                      )
                        Plaintiff,                    )
                                                      )       JUDGMENT IN A CIVIL CASE
       v.                                             )
                                                      )       CASE NO. 5:20-CV-200-D
KILOLO KIJAKAZI, Acting Commissioner of               )
Social Security,                                      )
                 Defendant.                           )


Decision by Court.
This action came before this Court for ruling as follows.

IT IS ORDERED, ADJUDGED, AND DECREED that Defendant pay to Plaintiff $4,500.00 in
attorney's fees, in full satisfaction of any and all claims arising under the Equal Access to Justice
Act, 28 U.S.C. § 2412. In addition, Plaintiff shall be compensated for the filing fee of $400.00
from the Treasury Judgment Fund. If the award to Plaintiff is not subject to the Treasury Offset
Program, payment will be made by check payable to Plaintiff's counsel, Derrick Arrowood, and
mailed to his office at P.O. Box 58129, Raleigh, NC 27658, in accordance with Plaintiff's
assignment to his attorney of his right to payment of attorney's fees under the Equal Access to
Justice Act.

This Judgment Filed and Entered on November 2, 2021, and Copies To:
Derrick Kyle Arrowood                                         (via CM/ECF electronic notification)
Wanda D. Mason                                                (via CM/ECF electronic notification)
Cassia W. Parson                                              (via CM/ECF electronic notification)




DATE:                                         PETER A. MOORE, JR., CLERK
November 2, 2021                              (By) /s/ Nicole Sellers
                                               Deputy Clerk




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